geo 25-cqwz

Doc 3737-1 Entered 05/15/07 14:00:20 _ Page 1 of 4
PROOF OF SERVICE
DATE PLACE
SERVED Apr 23 2007 401 S VIRGINIA ST,
RENO, NV 89501
SERVED ON (PRINT NAME) MANNER OF SERVICE

ANGEL BAILEY; ASSISTANT BANKING CENTER
MANAGER

AUTHORIZED TO ACCEPT ACCEPTED ON BEHALF OF
BANK OF AMERICA N.A.

SERVED BY (PRINT NAME)

LEO OUELLETTE

TITLE

PROCESS SERVER LIC #322

DECLARATION OF SERVER

I declare under the penalty of perjury under the laws of the United States of America that the foregoing information contained

in the Return of Service Statement o

Executed on Apr 25 2007

ervice Fees is true and correct.

nL JO

Date

Siggdtare of Server

185 Martin St., Reno, NV 89509

Address of Server

DIAM1 230622°

EXHIBIT

A

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B254 (5/92) Subpoena for Rule 2004 Examination

United States Bankruptcy Court

DISTRICT OF NEVADA

INRE

USA COMMERCIAL MORTGAGE COMPANY,
USA CAPITAL REALTY ADVISORS, LLC,

USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC,
USA CAPITAL FIRST TRUST DEED FUND LLC,

USA SECURITIES, LLC,

DEBTORS.

AFFECTS: ALL DEBTORS

TO: Bank of America, N.A.
c/o Corporation Trust Company of Nevada
6100 Neil Road, Suite 500
Reno, Nevada 89511

SUBPOENA FOR RULE 2004 EXAMINATION

CASENOS.  BK-S-06-10725 LBR
BK-S-06-10726 LBR
BK-S-06-10727 LBR
BK-S-06-10728 LBR
BK-S-06-10729 LBR

JOINTLY ADMINISTERED UNDER
CASE NO, BK-S-06-10725-LBR

xX YOU ARE COMMANDED to produce a corporate representative for examination under Federal Rule of Bankruptcy Procedure 2004, pursuant
to the attached court order, regarding the following topics at the place, date and time specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY

LEWIS AND ROCA, LLP

3993 HOWARD HUGHES PARKWAY, SUITE 600
LAS VEGAS, NEVADA 89169

(702) 949-8200

DATE AND TIME

May 25, 2007 at 10:00 A.M.

Or such other mutually
agreeable date and/or time

xX YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time

specified below:

SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED

PLACE

LEWIS AND ROCA, LLP

3993 HOWARD HUGHES PARKWAY, SUITE 600
LAS VEGAS, NEVADA 89169

(702) 949-8200

DATE
April 25, 2007 at 10:00 A.M.

Or such other mutually
agreeable date and/or time

ISSUING ORF) NATURE AND TITLE
ce

Specidl Nifgation Counsel for the USACM Liquidating Trust

DATE

April 13, 2007

JSSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

ERIC D: MADDEN

DIAMOND MCCARTHY LLP
1201 ELM STREET, 34TH FLOOR
DALLAS, TEXAS 75270

(214) 389-5306

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WSIS TIS TLS TS GF WOO VT VTL LIMeTeO VTLS Lae. US Lo raye Yo Ul S|
PROOF OF SERVICE
: DATE: PLACE:
SERVED:
SERVED ON (PRINT NAME) MANNER OF SERVICE
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Proof of Service is true and correct.

Executed on

Date

Signature of Server

Address of Server

Rule 45, Federal Rules of Civil Procedure, Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Rule 9016, Fed.R.Bankr-P.:

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1)_A party or an attorney responsible for the issuance and service of
a subpoena shall take reasonable ‘steps to avoid imposing. undue burden or
expense on a person subject to that subpoena. The court on behalf of which the
subpoena was issued shall enforce this duty and impose upon the party or
attorney in breach of this duty an appropriate sanction, which may include, but
is not limited to, lost earnings and reasonable attorney's fee.

. 2)(A), A person commanded to produce and permit inspection and
copying of designated books, papers, documents or tangible things, or
inspection of premises need not appear in person, at the place of production or
inspection unless commanded to appear for deposition, hearing or trial.

(B) Subject to paragraph (d)(2) of this rule, a person commanded to
produce and permit inspection and copying may, within 14 days after service of
the subpoena or before, the time specified for compliance if’such time is less
than 14 days after service, serve upon the party or attorney designated in the
subpoena written objection to inspection or copying of any or all of the
designated materials or of the premises. If objection is made, the party serving
the subpoena shall not be entitled to inspect and copy the materials or inspect
the premises except pursuant to an order by the court by which the subpoena
was issued. If objection has been made, the party serving the subpoena may,
upon notice to the person commanded to produce, move at any time for an
order to compel the production. Such an order to compel production shall
protect any persons who is not a party or an officer of a party from significant
expense resulting from the inspection and copying commanded.

(3)(A) On timely motion, the court by which a subpoena was issued
shall quash or modify the subpoena if it

i) fails to allow reasonable time for compliance.

i1) requires a person who is not_a patty or an officer of a
party to travel to a place more than 100 miles from the place where
that person resides, is employed or regularly transacts business in
person, except that, subject to the provisions of clause (o)(3)(B)Gn)
of this rule, such a person may in order to attend trial be commanded
to travel from any such place within the state in which the trial is held
or,

{00365037; }

(iii) requires disclosure of privileged or other protected
matter and no exception or waiver applies, or

(vy) subjects a person to undue burden.
(B) Ifa subpoena

i) requires disclosure of a trade secret or other
confidential research, development, or commercial information, or
_ (ii) requires disclosure of an unretained expert's opinion or
information not describing specific events or occurrences in dispute
and resulting from the expert's study made not at the request of any

arty, or

P _ (iti) requires a person who is not a party or an officer of a
party to incur substantial expense to travel more than 100 miles to
attend trial, the court may, to protect a person subject, to or affected
by the subpoena, quash or modify the subpoena or, if the party in
whose behalf the subpoena is issued shows a substantial need for the
testimony or material that cannot be otherwise met without undue
hardship and assures that the person to whom the subpoena is
addressed will be reasonably compensated, the court may order ap-
pearance or production only upon specified conditions.

(d) DUTIES IN RESPONDING TO SUBPOENA,

(1) A person responding to a subpoena to produce documents shall
produce them as they are kept in the usual course of business or shall organize
and label them to correspond with the categories in the demand.

_ _, 2) When information subject to a subpoena is withheld on a claim
that is privileged or subject to protection as trial preparation materials, the claim
shall be made expressly and shall be supported by a description of the nature of
the documents, communications, or things not produced that is sufficient to
enable the demanding party to contest the claim.

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BankofAmerica _
ye
Angel Bailey
Assistant Banking Center Manager
Reno Plaza

Tel: 775.688.8630 « Fax: 775.688.8621 - Cust. Sve: 800.432.1000

Bank of America, NV2-117-01-01
4015. Virginia Street, Reno, NV 89501

